LEE ROSENBERG, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Rosenberg v. CommissionerDocket No. 10086.United States Board of Tax Appeals10 B.T.A. 601; 1928 BTA LEXIS 4067; February 8, 1928, Promulgated *4067  1.  The petitioner was an actual resident of the State of, new York during 1919 and 1920.  Held, that he was not domiciled in Texas during the same years.  2.  The petitioner filed on March 12, 1920, by his agent, an income-tax return for the calendar year 1919, reporting therein his individual income including community income, if any.  The petitioner and his wife filed separate returns for the calendar year 1920.  The income of the petitioner for both the years 1919 and 1920 was derived principally from a business carried on in New York State, a noncommunity-property State.  The respondent determined that none of the income received by the petitioner and his wife during the years 1919 and 1920 was community income.  Held, that the petitioner was not entitled to divide certain income received by him during 1919 and 1920 equally between himself and wife and to exclude from his return the portion of the income allocated to the wife.  Herbert S. Brussell, Esq., and E. Walter Beebe, Esq., for the petitioner.  A. S. Lisenby, Esq., for the respondent.  SMITH *601  This proceeding is before the Board on the petitioner's appeal from a final*4068  determination of deficiency for the years 1919 and 1920, *602  as stated in a notice of deficiency mailed to the petitioner on October 21, 1925.  The only issue raised is as to the petitioner's right to divide certain income received by him during the years 1919 and 1920 equally between himself and wife and to exclude from his income in income-tax returns filed for those years the amount of income allocated to the wife.  FINDINGS OF FACT.  The petitioner was born in Fulton, Ark., January 28, 1878, and moved to St. Louis, Mo., with his parents three or four years later.  He continued to reside in St. Louis until about 1897, when he went to Texarkana, Tex., and engaged in business.  He lived in rented rooms in Texarkana.  In about 1900 he purchased a farm containing 500 or 600 acres in Bowie County, Tex., a mile or more out from Texarkana.  He built a small farm house on this property in 1902 or 1903 in which he sometimes slept, at the same time maintaining a rented room in Texarkana.  He cleared or caused the land to be cleared and placed tenants or share croppers thereon.  During the taxable years 1919 and 1920 there were thirteen or fourteen buildings on the farm, principally*4069  the houses of tenants and employees.  Cotton and corn were raised on the farm.  The petitioner was in the business of buying and selling cotton in Texarkana and he operated the farm in connection with his cotton business, and had a farm manager named Wm. C. Lovelady.  During each cotton season the petitioner bought and sold cotton and in the course of his operations purchased property located at 702 West Broad Street, Texarkana, consisting of a wharf, shed, sample room and an office.  This property was owned by the petitioner during the taxable years.  After the cotton season was over the petitioner made trips to St. Louis, where his parents lived, and also occasionally to New Orleans and New York.  In 1908 or 1909 petitioner bought a seat on the New Orleans Cotton Exchange and in 1911 a seat on the New York Cotton Exchange.  In 1919 or thereabouts he bought a seat on the New York Stock Exchange.  In September and October of each year he spent a considerable part of the time in Texarkana and engaged in a spot cotton business.  After 1917 this spot-cotton business was transacted in a small way, but Rosenberg's trips to Texarkana were less frequent.  He kept in close touch with his*4070  farming operations through weekly reports from his manager, Lovelady.  He was a member of the Chamber of Commerce and of the Country Club at Texarkana, and also a member of a lodge of Elks in Texarkana.  He continued *603  as a member of these clubs during the taxable years and paid dues to them.  In 1916 or 1917 petitioner bought a portable bungalow at Great Neck, Long Island, and spent week-ends there.  He married in New York City, on April 11, 1918.  He was then living at 230 West 79th Street, New York City.  During the taxable years he spent his summers at Great Neck, Long Island, and during the winter months had an apartment at the St. Regis Hotel, New York City.  In the fall of 1918 he and his wife returned to Texarkana for a visit and likewise returned for visits in 1919 and in 1920.  When in Texarkana he visited his farm but stayed at the Avenue Hotel or HuckinsHouse in Texarkana.  His wife never stayed with him at the four-room house on his farm near Texarkana.  Rosenberg informed his manager that he would sell his farm if he could get the right price for it but in cash he did sell it he would retain the oil rights.  Rosenberg has not voted in Texas since 1910*4071  or 1911, neither has he voted at any time in New York.  The petitioner registered for the selective service draft with the local board of Bowie County, Texarkana, Tex., on September 15, 1918.  In the place on his registration card where he was directed to state his permanent home address (street or R.F. D. No.) the petitioner entered "Avenue Hotel, Texarkana, Texas." For the taxable years and subsequent years he made income-tax returns to the State of New York as a nonresident.  The petitioner has always claimed Texarkana, Tex., as his domicile.  In making his last will and testament some time subsequent to 1918, the petitioner alleged therein that he was a resident of the State of Texas.  During the years 1919 and 1920 the petitioner kept two sets of books of his business transactions, one at Texarkana, and one at New York.  At the close of each year he compiled necessary information from his New York books and forwarded it to his agent, Lovelady, at Texarkana, with instructions to file an income-tax return for him.  Such a return was filed by Lovelady for the petitioner for the year 1919 on March 12, 1920, which return showed a total net income subject to surtax of $49,713.98. *4072  This return was not a community property basis.  A separate income-tax return was filed for the wife for 1919 in which there was reported a net income of $25,232.64.  On or about September 15, 1921, an amended income-tax return was filed for the petitioner by his agent on the community-property basis, which showed a total net income subject to surtax of $33,430.62.  *604  The petitioner's gross income and deductions arising out of transactions in Texas and New York, as shown by his books in his offices in those States for the years 1919 and 1920, were follows: 1919Texas booksNew York booksConsolidated incomeBlock A. Income from farm:Gross income$16,705.57Allowable deductions -Interest2,908.03Taxes1,547.81Depreciation1,522.80Bad debts of tenants5,195.22Office expense3,843.61Farm expense10,498.29Farm physician180.00Loss, oil lease1,500.00Loss on hogs477.38Insurance buildings1,556.11Truck expense504.58Depreciation, implements and live stock183.54Total farm deductions29,917.37Net loss, Texas farm(13,211.80)($13,211.80)Block G. Other income:Profit on cotton$79,887.19Sale of rightsProfit cotton contractsBrokerage2,723.50Commissions1,365.00Bonds won1,003.36Sale securities(5,757.44)Rent649.99Total net income, Block G.79,871.6066,659.80Block H.Block I. Deductions:Contributions12.00784.00Interest paidLoss on foreign exchange3,395.37Expenses10,780.70Interest14,125.52Taxes330.99Total deductions12.0029,416.5829,428.58Net income from above37,231.22Block K. Dividends21,007.7321,007.73Total net income, revised58,238.95*4073 *605 1920Texas booksNew York booksAdjusted incomeBlock A. Income from Business:Profit on contracts$225,662.87Brokerage and commissions14,957.50Miscellaneous interest1,430.20Texas farm income$972.06Gross income972.06242,050.57$243,022.63Allowable deductions -Loss on stock trading97,028.69Stamp tax38,776.46Office expense816.51Salaries2,100.00Farm expense7,409.89Feed3,230.52Repairs656.34Depreciation, buildings1,522.80Bad debts, tenants6,473.98Depreciation, implements183.54Farm Physician218.00Oil lease loss36.50Truck expense87.18Fire insurance1,508.95Interest paid706.00Total business deductions24,950.21135,805.15160,755.36Net income, Block A82,267.27Block E. Rents2,149.922,149.92Block G. Other Income:(From Real Estate in Texas)3,820.003,820.00Block H. Dividends18,839.7518,839.75Block I475.00475.00Block J107,551.94Deductions, Block K:Taxes1,608.102,271.49InterestSecurities, no valueLoss, 184 bales cotton17,591.64Contributions1,734.00Interest15,464.78Other expenses14,847.26Loss, spot cotton5,503.88Loss on exchange4,863.86Total deductions, Block K19,199.7444,685.2763,885.01Total net income revised43,666.93*4074  The net income of the petitioner's wife, exclusive of dividends, for 1919, as shown by the New York books, was $24,619.81.  The dividends received amounted to $718.15 and there were claimed as deductions contributions in the amount of $50, and interest paid $55.32, leaving a total net income of $25,232.64.  The net income of the wife for 1920, as shown by the New York books, was $22,456.62.  The petitioner's wife did not have much property at the date of her marriage in 1918 and the petitioner has not given her any considerable amount.  The income received by her represents principally profits upon cotton contracts made by the petitioner for his wife's benefit.  The money for the conduct of these operations was the petitioner's.  *606  The petitioner's income-tax return for 1920 was filed on March 21, 1921.  This was also made by Lovelady, as agent for the petitioner, and was made on the community-property basis.  It showed a net income on which taxes were to be computed of $33,339.50.  OPINION.  SMITH: The petition filed in this proceeding alleges error in that the respondent has denied the petitioner the right to file returns of income under the provisions of Treasury*4075  Decision 3071 for the calendar years 1919 and 1920, domicile being claimed in Texas.  The notice of deficiency from which this appeal is taken stated: After consideration of the evidence on the first issue, it is the opinion of this office that you are not entitled to file returns on the community property basis.  This conclusion has been reached inasmuch as it is apparent you had extensive business activities in New York and had no intention of establishing domicile in the state of Texas.  The respondent submits that there is before the Board only a moot question, inasmuch as the petitioner has alleged nothing more than that his domicile was in the State of Texas during the years 1919 and 1920 and has submitted no other evidence than that calculated by him to establish the fact of his domicile in that State during those years; that the petitioner has not alleged in his petition and has not submitted any evidence to the Board to show that any of the income attributed to him for the years 1919 and 1920 was community property or community income.  The principal part of the evidence of record is concerned with the question whether the petitioner was domiciled in Texas during the*4076  taxable years, the respondent contending that he was not domiciled there.  The general rule as to residence and domicle is stated at 9 R.C.L. 539, as follows: It is customary to distinguish between residence and domicil, on the ground that any place of abode or dwelling place constitutes a residence, however temporary it may be, while the term "domicil" relates rather to the legal residence of a person or his home in contemplation of law.  As a result one may be a resident of one jurisdiction although having a domicil in another.  "Residence" is defined by the laws of Texas as follows: The "residence" of a single man is where he usually sleeps at night; that of a married man is where his wife resides, or if he be permanently separated from his wife, his residence is where he sleeps at night.  * * * (Vernon's Annotated Texas Statutes (Civil Statutes) vol. 9, art. 2958.) The allegations of the petitioner and the testimony of the petitioner identify and locate the exact spot which the petitioner claims as his domicile as the house upon his farm near Texarkana.  Neither *607  the petition, the testimony, nor the theory of the case identifies or locates the domicile to be*4077  at any other spot.  With respect to the amount of time that Rosenberg spent in Texas during 1919 and the question as to whether his business interests there were increasing or decreasing, lovelady, his farm and business manager, testified substantially as follows: That the petitioner made a visit to Texarkana accompanied by his wife in September or October, 1918, and at the same period of the year in 1919 and 1920; that he made only one visit each year; that he was uncertain as to just how long he stayed on each visit; that the petitioner and his wife stopped at a hotel in Texarkana, and that during the daytime Rosenberg made trips to his farm; that practically all of Rosenberg's important business had been away from Texarkana since January 1, 1919; that Rosenberg had offered his farm for sale.  As to whether the petitioner was actually in Texas at any time during 1919 or 1920 Lovelady was in doubt.  His testimony upon that point was as follows: Q.  On recross-examination you referred to his coming down in 1919 and 1920; I believe you stated to me that you were not sure he was down here?  A.  I wasn't, and I am not now.  Q.  Don't know whether he did or not, and whether he*4078  stayed a week or months?  A.  I could not say.  Q.  Just one trip a year?  A.  Yes, sir.  Q.  One trip a year, and you don't know whether he stayed one month or eight months?  A.  Couldn't say how long he stayed.  The testimony of another witness for the petitioner, Heilbron by name, was direct, specific, unevasive and certain.  Heilbron had resided in Texarkana for about 50 years and had known Rosenberg for about 35 years.  On cross-examination he testified as follows: Q.  Do you know whether or not he [petitioner] ever resided at Great Neck, New York?  A.  Yes.  Q.  You know how long he resided there?  A.  That is a summer home, and has been for several years, and still is.  Q.  Was it in 1919 and 1920?  A.  I am not positive.  Q.  Did you ever visit in that home?  A.  Yes.  Q.  Did you visit in 1919 and 1920?  A.  I don't think so.  Q.  Do you know whether he owned that home at that time?  A.  I think he did, and I think I did visit in 1920.  Q.  During the winter months did he have quarters in New York City?  A.  Yes.  *608  Q.  Is that at the St. Regis Hotel?  A.  Yes.  Q.  Do you know whether or not in 1919 and 1920 he resided*4079  or lived in Texarkana in the sense that it is commonly understood that a man lives in a place?  A.  No; he did not.  Q.  Do you know how many visits he made to Texarkana in 1919?  A.  No.  Q.  Do you Now whether or not he was here any length of time in 1919?  A.  His stay was not long.  Q.  Did his wife reside in the house on the farm in 1919?  A.  I couldn't say.  Q.  Did his wife ever live in it?  A.  I don't know.  Q.  Was Rosenberg or his wife in Texarkana any length of time during these years?  A.  No.  Q.  After January 1, 1919, do you know whether Mr. Rosenberg, or Mr. Rosenberg and his wife had lived or resided on the farm.  A.  He did not.  Q.  Then his occupancy of the home that you testified about was prior to his marriage?  A.  Yes.  Q.  His principal occupation, and since his marriage, has been in the cotton business in New York?  A.  Yes.  Q.  A very little of the cotton business in Texarkana?  A.  I am not informed enough to answer that.  Q.  You don't know of any large activities in the cotton business here after his marriage?  A.  Only that he bought cotton here.  Q.  Bought some?  A.  Yes.  Q.  Was his activities large*4080  or small?  A.  I suppose they were large; I don't know.  Q.  Do you know of any meetings of the Elks Club, Chamber of Commerce or Country Club that he has attended since 1919?  A.  No.  Q.  Do you know whether or not it is necessary for Mr. Rosenberg to be a resident of Texarkana to be a member of these organizations?  A.  It is not necessary.  Q.  From your intimate acquaintance with him, wouldn't you state that he (Rosenberg) had been living in New York from the time of his marriage to the present date?  A.  Yes.  It is well settled that an individual may have many residences but can have only one domicile.  In the general acceptation of the term a residence is the place where an individual actually lives or has his abode, that is, where he eats and sleeps.  The general rule is as stated and defined in the Texas statutes above cited.  In the opinion of the Board the evidence establishes that the residence of the petitioner during the years 1919 and 1920 was in the State *609  of New York.  The question is whether during the same years his domicile was in the State of Texas.  The leading case in this country on the subject of domicile is the case of Ennis*4081   v. Smith,14 Howard 400. In that case the United States Supreme Court had for decision the question as to where General Kosciusko was domiciled at the time of his death, and after reviewing the authorities the rule was announced by Mr. Justice Wayne, as follows: * * * Where a person lives, is taken prima facie to be his domicil, until other facts establish the contrary.  Story's Com. 44, 6 Rule, Bruce v. Bruce, 2 Bos. &amp; P. 228, Note. 239; 3 Ves. 198, 291; Hagg. Cons. 374, 437.  It is difficult to lay down any rule under which every instance of residence could be brought, which may make a domicil of choice.  But there must be to constitute it actual residence in the place, with the intention that it is to be a principal and permanent residence.  That intention may be inferred from the circumstances or condition in which a person may be as to the domicil of his origin, or from the seat of his fortune, his family and pursuits of life.  Pothier, Introd. Gen. aux Cout. p. 4; D'Argentie, Cout. Art. 449; Touillier, lib. 1, tit. 3, n. 371; 1 Burge, Com. Confl. Laws, 42, 43.  A removal which does not contemplate an absence from the former domicil*4082  for an indefinite and uncertain time is not a change of it.  But when there is a removal, unless it can be shown or inferred from circumstances that it was for some particular purpose, expected to be only of a temporary nature, or in the exercise of some particular profession, office, or calling, it does change the domicil.  The result is, that the place of residence is prima facie the domicil, unless there be some motive for that residence not inconsistent with a clearly established intention to retain a permanent residence in another place.  The facts in the case place the residence of Kosciusko in France, under the principle just stated.  The evidence does not show that the petitioner has had nor does it show that he now has any immediate or definite intention of returning to Texarkana to reside at any particular time.  In fact, on direct examination Rosenberg testified as follows: Q.  And have you the intention to revert and return to Texarkana at all times as your home and your domicile?  A.  I feel that that is my home and I will go back as much and as often as it is possible to do so.  It, therefore, appears that it is not Rosenberg's intention to reside permanently*4083  in or near Texarkana, and to depart therefrom occasionally, but it appears that it is his intention to stay in New York and to go back to Texarkana occasionally when his affairs in New York will permit.  In 9 R.C.L. 540, it is stated that: * * * In general terms, one may be designated as an inhabitant of that place which constitutes the principal seat of his residence, of his business pursuits, connections, attachments, and of his political and municipal relations.  * * * In *610  the case of Ex Parte Blumer, 27 Tex.Repts. 734 (1865), the Supreme Court of the State of Texas had for decision the question as to whether one Samuel Blumer was domiciled in Texas and subject to conscription for the Confederate armies.  The facts were that Blumer was born in the Republic of Switzerland; that he came to Texas on business in 1854 and remained for a few months, and then returned to Switzerland.  He came back to the United States in 1859 and arrived in Texas in June, 1861.  He remained in ill health after his arrival in Texas for something like two years, and after his recovery was destitute of means and was unable to earn more than enough to support himself.  He had at all times*4084  declared it to be his intention to return to Switzerland and had at all times denied an intention to make Texas his permanent home or domicile.  He was a single man, and when enrolled as a conscript in July, 1864, was 32 years of age.  In deciding whether Blumer was domiciled in Texas and subject to conscription for the Confederate armies, the Supreme Court of the State of Texas exhaustively reviewed the authorities on domicile.  It stated: * * * Descriptions of domicile are more easy and not less intelligible than efforts at a definition of it.  In the case of Bruce v. Bruce, in the House of Lords, the Chancellor, Lord Turlow, said, "But what will make a person's domicil or home - must occur to every one.  A British man settles as a merchant abroad; he enjoys the privileges of the place; he may mean to return when he has made his fortune; but he dies in the interval; will it be maintained that he had his domicil at home?" (Bosanquet &amp; Puller's R., 229 and note.) Justice Washington in the Venus case, says, "If it sufficiently appear, that the intention of removing was to make a permanent settlement, or for an indefinite time, the right of domicil is acquired by a*4085  residence even of a few days." (8 Cranch R. 279; 12 U.S. 279). Story says, "In a strict and legal sense that is properly the domicil of a person where he has his true, fixed and permanent home, and principal establishment, and to which, whenever he is absent, he has the intention of returning." (Story Conf. of Laws, 49).  Again he says, "Two things must concur to constitute domicil; first residence, and secondly the intention of making it the home of the party." (Id., 53).  And again he says, "Vattel has defined domicil to be a fixed residence in any place, with an intention of always staying there.  But this is not an accurate statement.  It would be more correct to say, that that place is properly the domicil of a person in which his habitation is fixed without any present intention of removing therefrom." (Id., 52.) The court appeared unqualifiedly to have approved the proposition express in Bruce v. Bruce, supra, and Ennis v. Smith, supra, that the place of residence is prima facie the domicile of a person.  It approved the statement of Mr. Justice Washington as expressed in *4086 The Venus, 8 Cranch, 278, that the intention of remaining in a *611  place, though not avowed, is presumed from long or continued residence, where such residence is not consistent with facts showing a permanent domicile elsewhere.  It referred to the statement of Weston, Chief Justice, in Greene v. Windham, 13 Maine R., 228, that, Whoever removes into a town for the purpose of remaining there an indefinite period, thereby establishes his domicil in that town.  It is not necessary that he should go with a fixed resolution to spend his days there.  He might have in contemplation many contingencies which would induce him to go elsewhere.  Some persons are more restless in their character and migratory in their habits than others, but they may and do acquire a domicil wherever they establish themselves for the time being, with an intention to remain until inducements may arise to remove.  After quoting Weston, the Texas court stated: These views are directly applicable to citizens of the country, when the question is raised as to what town, county or state they belong.  The court quoted with approval the statement of Sir W. Scott (citation*4087  not supplied) that, "Time is the grand ingredient in constituting domicil." And the court then remarked that - In most cases it is unavoidably conclusive.  It is not infrequently said, that if a person comes for a special purpose, that shall not fix a domicil.  This is not to be taken in an unqualified latitude, and without some respect to the time the court cited the case of Watson v. Simpson, 8 La. An as may probably or does actually detain the person for a great length of time, a general residence might grow upon the special purpose.  In considering the question as to what weight should be given to the acts of the person and the facts and circumstances of the case in determining whether the declarations of the person should be controlling, the court cited the case of Watson v. Simpson, 8 La.An Rep. 337, and the opinion of the court as therein expressed by Merrick, C.J., as follows: It is evident that, in most of his conversations, and whenever he had an opportunity to manufacture evidence, Simpson pretended to be a resident of New Orleans, whilst, during the whole of three years he was absent, he was enjoying all of the advantages of a real resident in*4088 New York, except voting, and this he seemed to decline, merely because it might affect his Louisiana domicil.  Courts of justice must look to the real facts of the case, and where it appears that the declarations of a party are made with reference to making testimony in his favor, they must be rejected.  After considering the fact of Blumer's long ill health and then destitute circumstances with his admitted inability to obtain funds sufficient to return to Switzerland from Texas, the court stated: These facts being proven, his remaining here, as he has done, is not inconsistent with the expressed intention of not making Texas his home and of returning to Switzerland.  He is detained by his physical condition and his necessities.  These explain why he is here, when he would be at another place.  When time and opportunity shall have produced a repugnance between *612  the facts and his declarations, which before long they might, then his declarations could not be regarded any longer as a true index to his intention.  But until that occurs his being here is as fully explained as though it were shown that he had come here on a special or particular business, as a traveler*4089  or a visitor.  The Supreme Court of the State of Texas then summed up and decided the case as follows: The case then stands thus: Blumber being a native of Switzerland, having once been here and gone back, leaves his home to come to Texas - after two years and a half here gets sick, declaring then and continually afterwards his intention not to make Texas his home, and to return to Switzerland as soon as he can do so, but is prevented by his sickness and destitution for three years, during which time he labors upon hire when he can in the ordinary avocations of the country.  The facts which draw him to his original domicil are not strong - far from it.  But the residence here is fully explained to be not inconsistent with the declared intention to return, and not to acquire a new one.  In the absence of any such declarations, his residence and conduct here might easily rebut any claim he might now make to have retained his original domicil, by the mere fact of being a foreigner.  In view of the mode in which he chose to shape his declarations of intention, (not to make this his home, but to return to Switzerland as soon as he was able and got money enough to bear his expenses, *4090  ) had he not shown that, from sickness and destitution he was not reasonably able to go, his declarations would have been impeached, and being found untrue in part, might have been wholly disregarded as constituting an index to his intention, and his three years' residence and conduct here would have left in full force to establish a domicil here, and thereby negative any claim to his foreign original domicil, founded, as it would then be, only upon the established fact of his being a foreigner.  His declarations of intention stand now unimpeached by other facts - are not unnatural or unreasonable in themselves, and must turn the scale in favor of Switzerland as his domicil.  The rule as expressed in the case of Ex Parte Blumer is the established rule of law upon the subject.  It is stated in practically the same language in 9 R.C.L. 542: * * * In other words, to effect a change of residence or domicil, there must be an actual abandonment of the first domicil, coupled with an intention not to return to it, and there must be a new domicil acquired by actual residence in another place or jurisdiction, with the intention of making the last acquired residence a permanent home; *4091  and the acts of the person must correspond with such purpose.  On a question as to loss of domicil, the intent to return or the animus revertendi is of equal importance for the same purpose.  Sometimes the intention of the person has been definitely expressed and can be proved by his written or spoken declarations.  In other cases the conduct has been such as to show the intention.  In general, all the circumstances of the particular case should be taken into consideration in determining the person's intention.  However migratory the habitation may be, and however difficult on that account may be the proof of the intent to remain, yet if proved, residence combined with intention to remain will constitute domicil.  But intent alone, without actual residence, cannot determine the domicil; and, conversely, a domicil once established cannot be given up by merely *613  intending to do so, and without actual removal.  Therefore one who has resided and carried on business for years in one jurisdiction cannot for his own purposes insist that his domicil is in another.  The facts may belie the expressed intent to retain a domicil actually given up.  The rule is further stated in*4092  9 R.C.L. 557, as follows: * * * Domicil is presumed prima facie, to be at that place where the party is shown to be, or where he is resident.  This presumption controls unless rebutted by evidence determining his domicil in some other place at that time.  * * * Continuous residence for a long period of time in a given locality raises the presumption that there was the intent to remain and become domiciled there.  * * * In the recent case of Cooper v. Reynolds, 24 Fed.(2d) 150, Judge Kennedy stated: In all questions touching the determination of residence or domicile of an individual, it has always been a cardinal principle laid down by the courts that the intention of the person whose residence is being considered, is most persuasive.  A fair example of the general expression of the courts may be found in the case of United States v. Jorgenson,241 Fed. 412, where at page 415 that court said: "The intention of an alien as to his residence or domicile once established, is a most important, and usually a controlling factor in determining his right to citizenship.  * * * The question of intention is always one of fact to be determined*4093  from both actions and declarations, and off times conduct is more persuasive than words." In the instant case the petitioner testified that he had never had any idea of changing his residence at any time from Texarkana.  We can not doubt, however, from the evidence that the petitioner actually did change his residence from Texarkana.  He has not lived at Texarkana since his marriage.  He has had an actual residence in New York State since 1918.  That is where his principal business interests have been since then.  The place of residence is prima facie the place of domicile.  Apparently the only attraction which Texarkana had for the petitioner since he left there prior to 1918 was his farm at or near Texarkana, which he was holding for sale.  The evidence does not show a clear intention to resume a residence upon it.  We conclude that the petitioner's domicile in 1919 and 1920 was in New York State.  In this case the petitioner has assumed that all that it was necessary for him to prove, in order to overcome the presumption of correctness on the part of the respondent in determining deficiencies, was that he was domiciled in Texas during the taxable years.  We think, however, *4094  that if that had been proved, it would not necessarily follow that the deficiencies found by the respondent were erroneous.  From the evidence we can not determine the amount of community income, if any, and the amount of separate income of the petitioner for 1919 and 1920.  What would have been the status *614  of the income received by the wife, if both parties had been domiciled in Texas, is also not clear.  It simply represented profits from the use by petitioner of his funds in transactions conducted for the benefit of his wife.  Furthermore, substantially all of the income of both spouse was earned in New York State, a noncommunity-property State, and never taken to the State of Texas.  Whether any of this income would be community income if received by persons domiciled in Texas, it is unnecessary for us to decide.  Cf. Abraham B. Johnson, et al.,7 B.T.A. 820. Reviewed by the Board.  Judgment will be entered on 15 days' notice, under Rule 50.STERNHAGEN and MURDOCK concur in the result only.  MARQUETTE, PHILLIPS, and SIEFKIN dissent.  